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FOR THE WESTERN DISTRICT OF TENNESSEE 05 hug ..9' AH 82 59
WESTERN DIVISION

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RECIPROCAL OF AMERlCA (ROA)
SALES PRACTICES LITIGATION This Document Relates to:
Civi] Action No. 04-2313

 

ORDER GRANTING THE DEPUTY RECEIVER’S UNOPPOSED MOTION TO VACATE
THE AUGUST 2, 2005, ORDER GRANTING MOTION FOR DEFENDANTS ATLANTIC
SECURITY LTD. AND RICHARD WITKOWSKI TO DISMISS FOR LACK OF PERSONAL
JURISDICTION

 

Before the Court in this multidistrict litigation is the unopposed motion and accompanying
memorandum of Plaintiff, Alfred W. Gross, in his capacity as Deputy Receiver of Reciprocal of
America (the “Deputy Receiver”), to vacate the Court’S August 2, 2005, Order Granting Motion of
Defendants Richard Witkowski and Atlantic Security Ltd. to Dismiss for Lack of Personal
Jurisdiction. For good cause shown, the motion to vacate is GRANTED.

1T ls so oRDERED this 8 day OfAugust 2005.

 

J A EL BREEN \
ITE sTATEs DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 165 in
case 2:04-CV-01551 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

